       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Larwan Badru Bonner
        v. Commonwealth of Virginia
        Record No. 0565-11-2
        Opinion rendered by Judge Humphreys on
        July 23, 2013

    2. Joseph A. Wiencko, Jr.
        v. Akemi Takayama
        Record No. 2078-12-4
        Opinion rendered by Judge McCullough on
         July 23, 2013

    3. Ceon Maurice Fauntleroy
        v. Commonwealth of Virginia
        Record No. 1084-12-1
        Opinion rendered by Judge Beales on
        July 30, 2013

    4. Curtis Trumaine Calloway
        v. Commonwealth of Virginia
        Record No. 0387-12-3
        Opinion rendered by Judge Petty on
        August 6, 2013

    5. Demetrie Lamont Watkins
        v. Commonwealth of Virginia
        Record No. 1124-12-1
        Opinion rendered by Judge Alston on
        August 6, 2013

    6. Darcella Reed
       v. Commonwealth of Virginia
       Record No. 1280-12-1
       Opinion rendered by Judge Beales on
        August 6, 2013

    7. Dwayne A. Farmer
        v. Commonwealth of Virginia
        Record No. 1389-12-1
        Opinion rendered by Judge Beales on
        August 13, 2013
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Damon Phineas Jordan
   v. Commonwealth of Virginia
   Record No. 0307-11-1
   Opinion rendered by Judge Humphreys
    on August 28, 2012
   Judgment of Court of Appeals affirmed by opinion rendered on
    September 12, 2012 (121835)

2. Rohit Patel
   v. Ilaben R. Patel
   Record No. 0875-12-2
   Opinion rendered by Judge Humphreys
    on April 9, 2013
   Dismissed for lack of jurisdiction pursuant to Code § 17.1-410(A)(3) and (B) (130878)
